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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                 )
                                          )
            Plaintiff/Respondent,         )
      v.                                  )                Case No. 08-4116-JAR
                                          )                         02-40098-01-JAR
                                          )
CORDELL NICHOLS,                          )
                                          )
            Defendant/Petitioner.         )
__________________________________________)

                              MEMORANDUM AND ORDER

       This matter is before the Court on petitioner Cordell Nichols’ Motion under 28 U.S.C.

§ 2255 to Vacate, Set Aside or Correct Sentence by a Person in Federal Custody (Doc. 350), as

amended and supplemented (Docs. 357, 385, 386). In his motion, Nichols seeks relief on

numerous grounds that he was denied effective assistance of counsel. The government has

responded (Doc. 363) and Nichols has filed a traverse (Doc. 373). After a careful review of the

record and the arguments presented, the Court denies Nichols’ motion without further

evidentiary hearing.

I.     Legal Standards

       Under § 2255(a):

              A prisoner in custody under sentence of a court established by Act
              of Congress claiming the right to be released upon the ground that
              the sentence was imposed in violation of the Constitution or laws
              of the United States, or that the court was without jurisdiction to
              impose such sentence, or that the sentence was in excess of the
              maximum authorized by law, or is otherwise subject to collateral
              attack, may move the court which imposed the sentence to vacate,
              set aside or correct the sentence.
According to Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States
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District Courts:

                  The judge who receives the motion must promptly examine it. If it
                  plainly appears from the motion, any attached exhibits, and the
                  record of prior proceedings that the moving party is not entitled to
                  relief, the judge must dismiss the motion. . . .

         An evidentiary hearing must be held on a § 2255 motion “unless the motion and files and

records of the case conclusively show that the prisoner is entitled to no relief.”1 Petitioner must

allege facts which, if proven, would warrant relief from his conviction or sentence.2 An

evidentiary hearing is not necessary where the factual allegations in a § 2255 motion are

contradicted by the record, inherently incredible, or when they are conclusions rather than

statements of fact.3

         Finally, Nichols appears pro se. Therefore, his pleadings are to be construed liberally

and not to the standard applied to an attorney’s pleadings.4 If a petitioner’s motion can be

reasonably read to state a valid claim on which he could prevail, the court should do so despite a

failure to cite proper legal authority or follow normal pleading requirements.5 However, it is not

“the proper function of the district court to assume the role of advocate for the pro se litigant.”6

For that reason, the court shall not supply additional factual allegations to round out a


         1
          28 U.S.C. § 2255(b)
         2
          See Hatch v. Oklahoma, 58 F.3d 1447, 1471 (10th Cir. 1995), cert. denied, 517 U.S. 1235 (1996).
         3
          Arredondo v. United States, 178 F.3d 778, 782 (6th Cir. 1999) (quoting Engelen v. United States, 68 F.3d
238, 240 (8th Cir. 1995)); see also Hatch, 58 F.3d at 1471 (“the allegations must be specific and particularized, not
general or conclusory”); United States v. Fisher, 38 F.3d 1144, 1147 (10th Cir. 1994) (rejecting ineffective
assistance of counsel claims which are merely conclusory in nature and without supporting factual averments).
         4
          Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991).
         5
          Id.
         6
          Id.

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petitioner’s claims or construct a legal theory on his behalf.7

II.     Procedural Background

        On June 9, 2003, Nichols was convicted by a jury of one count of possession with intent

to distribute approximately 4.6 kilograms of heroin, in violation of 21 U.S.C. § 841(a)(1); and

one count of conspiracy to distribute in excess of one kilogram of heroin, in violation of 21

U.S.C. § 846.8 The Presentence Investigative Report (PSIR) indicated that Nichols was subject

to a statutory mandatory minimum of 20 years as a result of an Information filed pursuant to 21

U.S.C. § 851(a)(1), based on a prior felony conviction for possession of cocaine.9 On September

8, 2003, this Court sentenced him to 360 months’ imprisonment, followed by ten years of

supervised release.10

        Nichols filed a direct appeal of his conviction and sentence to Tenth Circuit Court of

Appeals. In that appeal, he argued: (1) evidence seized following two traffic stops should have

been suppressed because the stops violated the Fourth Amendment; (2) testimony regarding a

third traffic stop should have been held inadmissible under Fed. R. Evid. 404(b); (3) a DEA

agent’s testimony regarding allegedly threatening statements made by Nichols at the time of his

arrest should also have been held inadmissible under Rule 404(b); and (4) there was insufficient

evidence to support Nichols’ conspiracy conviction.11 In Nichols I, the court considered each of



        7
         See Whitney v. State of New Mexico, 113 F.3d 1170, 1173-74 (10th Cir. 1997).
        8
         (Doc. 190.)
        9
         (PSIR at ¶ 104.)
        10
            (Doc. 271.)
         11
            United States v. Nichols, 374 F.3d 959, 961 (10th Cir. 2004), vacated by 543 U.S. 1113 (2005)
(hereinafter “Nichols I”).

                                                         3
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these grounds, and affirmed Nichols’ convictions and sentence.12

        Following the Tenth Circuits’ affirmance of his sentence in Nichols I, Nichols filed a

petition for writ of certiorari with the Supreme Court, asking that his sentence be vacated on

United States v. Booker 13 grounds. While his direct appeal was pending, on June 7, 2004,

Nichols filed a Motion for Relief from Judgment, Pursuant to Rule 60(b)(2), Newly Discovered

Evidence.14 Nichols based his motion on his contention that Trooper Michael Weigel falsely

testified at the March 3, 2003 suppression hearing in this case concerning his claim that he had

been investigating an injury accident in the early morning hours of May 22, 2002.15 This Court

denied Nichols’ motion, and specifically declined to characterize his motion as filed under 28

U.S.C. § 2255.16 On January 24, 2005, the Supreme Court granted certiorari, vacated the Nichols

I opinion, and remanded the case to the Court of Appeals for further consideration in light of

Booker.17 On June 7, 2005, the Tenth Circuit reinstated its opinion affirming Nichols’ conviction

and remanded the case to this Court for resentencing.18

        On June 23, 2005, Nichols filed a motion for a new trial, pursuant to Rule 33(b)(1) of the

Federal Rules of Criminal Procedure, based on newly discovered evidence. In this motion,



        12
          Id.
        13
          543 U.S. 220 (2005).
        14
          (Doc. 250.)
        15
          Id. at 4-5, Apps. B & C.
        16
          (Doc. 253, at 1-3.)
        17
          See Nichols v. United States, 543 U.S. 1113 (Jan. 24, 2005).
        18
          See United States v. Nichols, 410 F.3d 1186 (10th Cir. Jun. 7, 2005.) (“Accordingly, our previous opinion
affirming Nichols' conviction is REINSTATED, and the case is REMANDED to the district court for
resentencing.”).

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Nichols again argued that Trooper Weigel testified falsely concerning his claim that he had been

investigating an injury accident in the early morning hours of May 22, 2002.19

       This Court resentenced Nichols on March 7, 2006.20 At this hearing, Nichols pressed his

claim for relief under Rule 33 based on his allegation that Trooper Weigel had testified falsely.

After his counsel conceded that these claims were not properly before it on remand for

resentencing, this Court denied Nichols’ motion for a new trial.21 Nichols re-asserted his

objections to certain proposed enhancements, including the two-point enhancement for

possession of a firearm and the two-point enhancement for obstruction of justice.22 This Court

noted these objections, but overruled them for the same reasons it overruled them at Nichols’

initial sentencing on September 8, 2003.23 This Court found that Nichols’ total offense level was

38, and his criminal history category was IV, resulting in an advisory Guidelines range of 324-

405 months.24 This Court then sentenced Nichols to 360 months’custody on Counts 1 and 2, to

run concurrently.25

       Following the sentencing hearing, this Court issued a written order memorializing its

findings.26 In this order, the Court discussed the merits of Nichols’ Rule 33 motion, and found


       19
         (Docs. 268-271.)
       20
         (Doc. 300.)
       21
         Id. at 8.
       22
         Id. at 10-12.
       23
         Id. at 12; see also Doc. 264 at 39-40, 42-46.
       24
         (Doc. 200 at 19.)
       25
         Id. at 30.
       26
         (Doc. 289.)

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his claim of newly discovered evidence did not warrant a new trial.27 In so ruling, this Court

found that “[t]he evidence offered by the defendant is, at best, merely impeaching,” and that “the

evidence would not produce an acquittal.”28 This Court also found that the government did not

withhold the evidence in violation of Brady v. Maryland.29

       Nichols appealed his March 7, 2006 sentence to the Tenth Circuit.30 The Court of

Appeals considered Nichols’ claim of Booker error and rejected it on the merits, finding both

that “the district court properly found by a preponderance of the evidence that the two

enhancements were warranted,”31 and that Nichols’ Confrontation Clause rights were not

violated by this Court’s reliance on statements attributed to Nichols’ girlfriend, Sheneice

Sanders, in the PSIR.32 Nichols appealed this decision to the Supreme Court, but the Court

denied his petition for certiorari on October 1, 2007.33 On October 6, 2008, Nichols filed the

instant motion, alleging numerous instances of ineffective assistance of counsel.

III.   Facts of the Case and Trial Proceedings

       Because of the expansive nature of Nichols’ claims, a review of the underlying facts and

background of the case and trial is informative.

       The Wyoming Stop


       27
         Id. at 3-4.
       28
         Id. at 3.
       29
         Id. at 4.
       30
         See United States v. Nichols, 219 F. App’x. 770 (10th Cir. Mar. 7, 2007) (hereinafter “Nichols II”).
       31
         Id. at 774.
       32
         Id.
       33
         See Nichols v. United States, 128 S. Ct. 329 (Oct. 1, 2007).

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       On October 12, 1999, Trooper William Morse of the Wyoming Highway Patrol was

working the evening shift on Interstate 80 when he saw a vehicle traveling unusually slowly and

weaving across the center line of the highway.34 Concerned that the driver might be impaired,

Trooper Morse stopped the vehicle.35 Trooper Morse saw that the driver was the sole occupant

of the vehicle and, immediately upon approaching the vehicle, smelled the odor of burning

marijuana.

       Trooper Morse contacted the driver and asked for identification, registration, and

insurance documents.36 The driver, who ultimately was determined to be Nichols, produced a

fictitious Missouri ID card that identified him as “Charles Rhodes.”37 Trooper Morse, who

immediately detected the odor of marijuana coming from the vehicle, also saw that the driver

appeared to have loose marijuana scattered over himself and throughout the front seat of the car,

as if he had been trying to eat the marijuana in an effort to destroy it or to conceal it from the

trooper.38 When asked, “Rhodes” told the trooper that he was driving from Louisiana to

Sacramento, California.39

       At this point, Trooper Morse arrested “Rhodes” for possession of marijuana and for

suspicion of providing a false name.40 While conducting a patdown search of Nichols, Trooper


       34
         (Doc. 236 at 47-49.)
       35
         Id. at 50.
       36
         Id. at 51.
       37
         Id. at 51-52.
       38
         Id. at 51, 54-55.
       39
         Id. at 57.
       40
         Id. at 58.

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Morse found a large roll of cash, ultimately determined to be nearly $13,000, in his front pants

pocket.41 When asked, Nichols explained that he had won the money gambling but had no

documentation of the source of the money.42 Trooper Morse also checked the registration of the

vehicle and found that it belonged to Rafael Navarez of Sacramento.43 Nichols was then taken

to jail, and Trooper Morse turned the case over to agents from the Wyoming Division of

Criminal Investigations (“DCI”).44

       The following day, Special Agent Robert Lezanby of the Wyoming DCI became

involved in the case.45 Because of the tattoo “Dell” on Nichols’ neck, Agent Lezanby agreed

with Trooper Morse that Nichols’ true name likely was not Charles Rhodes.46 When Agent

Lezanby told Nichols that he intended to obtain a full set of fingerprints, Nichols admitted that

his true name was Cordell Nichols.47 During the search of the car Nichols had been driving,

Agent Lezanby found a false compartment built into the back of each front seat.48 Finally, Agent

Lezanby contacted the Casino Queen, where Nichols claimed to have won the cash in his

possession, and was told there were no records that either Charles Rhodes or Cordell Nichols had




       41
         Id. at 58-59.
       42
         Id. at 59-60.
       43
         Id. at 60.
       44
         Id.
       45
         Id. at 70.
       46
         Id. at 72-73.
       47
         Id.
       48
         Id. at 76-77.

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won a significant amount of money during the time period in question.49

       As a result of this stop and the ensuing investigation, Nichols was charged with

possession of marijuana, interference with lawful police duties, driving under suspension, and a

lane violation.50 A forfeiture action was also filed against the money.51 Nichols ultimately pled

guilty to the interference charge, the driving under suspension charge, and the lane violation, in

exchange for dismissal of the marijuana charge.52 An agreement was reached in the forfeiture

case, whereby the State of Wyoming kept just under half of the money, and the balance was

returned to defendant. 53

       The St. Louis Stop and Resulting Apartment Search

       On September 14, 2000, agents with the St. Louis DEA Drug Task Force received

information from a reliable source that several individuals, including Nichols, planned to travel

to the area of San Francisco, California, to purchase heroin.54 The informant told agents that the

group planned to leave at approximately 7:00 p.m. that evening in a green Land Rover, and that

they planned to travel west on Interstate 70 (“I-70”) from St. Louis.55 Agents initiated

surveillance and, at approximately 7:15 p.m., they saw a green Land Rover traveling westbound




       49
         Id. at 80.
       50
         Id. at 65.
       51
         Id.
       52
         Id.
       53
         Id. at 74.
       54
         (Doc. 235 at 253-55.)
       55
         Id.

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on I-70 near Lambert International Airport.56 While following the vehicle, officers observed it

speed in excess of the posted speed limit and change lanes without signaling, both in violation of

Missouri law.57 Two officers stopped the vehicle; upon approaching it, they smelled the odor of

marijuana coming from the vehicle.58 The officers immediately arrested the occupants of the

vehicle for possession of a controlled substance.59

       One of the occupants of the vehicle was determined to be defendant Nichols.60 Another

identified himself as “Tyrone Greene,” but was later determined to be co-defendant Tristin

Mitchell.61 Inside the rented vehicle agents found eight small bags of marijuana.62 Inside a

suitcase belonging to Nichols, the agents found $5,700 in cash.63

       Based upon interviews conducted after the arrest, agents determined that Nichols had

been using an apartment in St. Louis for the purpose of storing and selling heroin.64 The agents

went to the apartment and spoke with Nichols’ girlfriend, Sheneice Sanders, who leased the

apartment and lived there with him.65 The agents sought and received consent from Sanders to



       56
         Id. at 255-58.
       57
         (Doc. 175 at 65-66.)
       58
         Id. at 67.
       59
         Id. at 67-68.
       60
         Id. at 68.
       61
         Id.
       62
         (Doc. 235 at 266.)
       63
         Id. at 263; Doc. 175 at 72.
       64
         (Doc. 175 at 73-74; Doc. 235 at 275-76.)
       65
         Id. at 74; Doc. 235 at 276.

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search the apartment.66 During the search they found approximately two ounces of “black tar”

heroin, two .380 caliber semi-automatic handguns, two boxes of ammunition for the handguns,

numerous items associated with the distribution of heroin,67 and $2,700 in cash. 68 One of the

handguns was found in the same dresser drawer as the heroin.69 A latent fingerprint was

developed from one of the items of drug paraphernalia, a grinder commonly used to grind heroin

into user-quantities before it is packaged into capsules and distributed, and this print was

subsequently matched to the known fingerprints of Nichols.70 At the jury trial, Donna Knight, an

expert fingerprint examiner for the St. Louis County Police Department, testified that she

compared the known fingerprints of Nichols to the fingerprint on the grinder and determined that

it was his fingerprint.71 No charges were filed, either in federal court or state court as a result of

this investigation.72

        The Kansas Stop

        At approximately 7:15 a.m. on May 22, 2002, Trooper Mike Weigel of the Kansas

Highway Patrol was working I-70 when he saw a passenger car following a recreational vehicle




        66
          Id.
        67
           These items included a coffee grinder, which is commonly used to grind solid chunks of heroin into a
powder for packaging, and empty capsules, into which the heroin powder is placed for dose-by-dose sale to
individual users. (Doc. 235 at 276-78.)
        68
          (Doc. 235 at 276-307.)
        69
          Id. at 305.
        70
          (Doc. 175 at 77.)
        71
          (Doc. 236 at 33-35, 39-41.)
        72
          (Doc. 235 at 321-22.)

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(“RV”) too closely.73 On three separate occasions, Trooper Weigel used a stopwatch to

determine that the passenger car was within two seconds of the rear bumper of the RV.74

Following another vehicle too closely is a violation of Kansas law,75 and Trooper Weigel

believed that the driver had violated this law.76

       Trooper Weigel stopped the vehicle for these offenses and spoke to the driver, who

identified himself as Tristin Mitchell, and said he did not have a driver’s license.77 Trooper

Weigel identified the two passengers as Kristin White and Nichols, who falsely identified

himself as “Quindell Johnson.”78 Nichols stated that he did not have a valid drivers license.79

The occupants advised the trooper that the vehicle was a rental car and provided a copy of the

rental contract, which showed that “Angela McCauley” rented the vehicle for one day on May

15, 2002, in Sacramento, California.80 The rental agreement indicated the vehicle was not to be

taken outside the State of California, and the only authorized driver on the rental agreement was

the person who rented the vehicle, McCauley.81 White told Trooper Weigel that her aunt had




       73
         (Doc. 234 at 74-78.)
       74
         Id. at 80-86.
       75
         Id. at 82.
       76
         (Doc. 175 at 111.)
       77
         Id. at 106.
       78
         Id. at 107.
       79
         Id. at 106-08.
       80
         Id. at 108-09.
       81
         Id. at 109.

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rented the vehicle and she had obtained a one-week extension of the rental.82

       While Trooper Weigel talked with Mitchell, he had his dispatcher run checks on the three

individuals, the vehicle, and the person who rented the vehicle.83 The dispatcher informed

Trooper Weigel that Mitchell had a prior drug arrest and that McCauley also had a criminal

record.84

       Trooper Weigel informed Mitchell that he intended to issue Mitchell a warning for the

traffic violation and the license violation, and that the three would be free to leave.85 Trooper

Weigel then spoke with White and told her she would have to drive since she was the only

occupant who had a valid driver’s license.86 The stop was videotaped and this Court admitted it

into evidence at the suppression hearing.87

       Trooper Weigel asked White whether he could ask her some additional questions, adding

that he was finished with the traffic stop.88 White responded affirmatively.89 Trooper Weigel

asked White whether there were any drugs, guns, or explosives in the vehicle; she said no.90

Trooper Weigel then asked her if he could look into the trunk of the vehicle, and White



       82
            Id. at 113.
       83
            Id. at 109.
       84
            Id. at 114.
       85
            Id. at 115.
       86
            Id. at 109, 115.
       87
            Id. at 120.
       88
            Id. at 112-13, 115.
       89
            Id. at 115.
       90
            Id.

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responded, “Sure.”91

       Less than thirty seconds after opening the trunk, Trooper Weigel found a sack of

marijuana “laying right there in the trunk.”92 He then arrested Nichols, Mitchell, and White.93

Trooper Weigel continued his search and found several bundles of a dark substance that he

thought was heroin.94 Subsequent analysis of the items that Trooper Weigel believed were drugs

showed they were actually several small bags containing marijuana and a large bag

containing approximately 4.8 kilograms of heroin.95

       Federal Charges and Prosecution

       On July 31, 2002, Nichols, White, and Mitchell were indicted in federal court on a single

count of possession with intent to distribute approximately 4.6 kilograms of heroin on May 22,

2002.96 On November 7, 2002, after the DEA agents in Kansas learned of the prior drug

trafficking activities of Mitchell and Nichols, the grand jury returned a Superseding Indictment,97

which added a count of conspiracy to traffic heroin, from the time of Nichols’ stop in Wyoming,

through and including the time of the stop of Nichols and Mitchell and the resulting search of

Nichols’ apartment in St. Louis, up to the time of the Kansas stop.98



       91
         Id. at 116.
       92
         Id. at 117.
       93
         Id. at 118.
       94
         Id.
       95
         (Doc. 235 at 231-16.)
       96
         (Doc. 1.)
       97
         (Doc. 81.)
       98
         Id.

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       Nichols filed two motions seeking suppression of evidence.99 The motions targeted the

heroin seized by Trooper Weigel during the Kansas traffic stop and the money, heroin, guns, and

paraphernalia seized a few months earlier in St. Louis. After conducting an evidentiary hearing,

this Court denied both motions.100

       Prior to trial, Nichols filed a motion in limine seeking to exclude any testimony regarding

the 1999 traffic stop in Wyoming, arguing that the stop was extrinsic to the crime charged.101

This Court addressed the motion at a hearing just prior to trial and denied it.102 At that hearing,

Nichols’ counsel, James Chappas, was permitted to withdraw as counsel of record and was

appointed standby counsel.103

       Jury trial in the case began June 2, 2003.104 The day before, the government filed an

Information pursuant to 21 U.S.C. § 851, which stated that upon conviction of either Count 1 or

Count 2 of the Superseding Indictment, Nichols shall be sentenced to increased punishment by

reason of a prior felony conviction for possession of a controlled substance in St. Louis,

Missouri in June 1992.105

       Nichols represented himself, and Chappas sat at the defense table as standby counsel

during the duration of the trial. Over Nichols’ objection, the government offered testimony


       99
         (Docs. 26, 154.)
       100
            (Doc. 157.)
       101
            (Doc. 172.)
       102
            (Doc. 185.)
       103
            Id.
       104
            (Doc. 187.)
       105
            (Doc. 182.)

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during its case-in-chief regarding threats Nichols made against one of the agents who arrested

him in St. Louis on the warrant from the instant charges.106 The government notified the trial

court, outside the presence of the jury, of its intent to offer this evidence and its theory that the

testimony constituted evidence of consciousness of guilt.107 The government proffered its

evidence to the Court and, after Nichols objected, the Court conducted an appropriate analysis

under Fed. R. Evid. 401 and 403.108 This Court ultimately overruled Nichols’ objection, and the

testimony was admitted.109

        The trial concluded on June 9, 2003, with the jury finding Nichols guilty of both counts

of the Superseding Indictment.110 Co-defendant Mitchell was acquitted of the conspiracy charge

but convicted of the count of possession with intent to distribute heroin.111 Co-defendant White

was acquitted on both counts.112 Nichols was subsequently represented at sentencing and on

appeal by Stephen Kessler.

IV.     Discussion

        A.        Statute of Limitations

        The Court first considers the government’s argument that Nichols’ motion should be

dismissed because he filed it outside of the applicable statute of limitations and does not carry


        106
           (Doc. 235 at 229-31.)
        107
           Id.
        108
           Id.
        109
           Id. at 231.
        110
           (Doc. 187.)
        111
           Id.
        112
           Id.

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his burden under the “prison mailbox rule.” Nichols’ § 2255 motion is governed by the

Antiterrorism and Effective Death Penalty Act (“AEDPA”), which establishes a one-year

limitations period for federal prisoners seeking habeas relief.113 This statute provides that a

defendant has one year from the date his judgment of conviction became final to file his § 2255

motion.114 In this case, Nichols’ judgment of conviction became final on October 1, 2007, when

the Supreme Court denied his petition for certiorari seeking to appeal the Tenth Circuit’s

affirmance of his sentence in Nichols II.115 Thus, for Nichols’ motion to be considered timely

filed, it must have been filed by October 1, 2008.

         Nichols filed his motion on October 6, 2008, so it was untimely unless he can take

advantage of the “prison mailbox rule.” “The prison mailbox rule . . . holds that a pro se

prisoner's [filing] will be considered timely if given to prison officials for mailing prior to the

filing deadline, regardless of when the court itself receives the documents.”116 Under this rule,

an inmate may establish timely filing by either

                   (1) alleging and proving that he or she made timely use of the
                   prison's legal mail system if a satisfactory system is available, or
                   (2) if a legal system is not available, then by timely use of the
                   prison's regular mail system in combination with a notarized
                   statement or a declaration under penalty of perjury of the date on
                   which the documents were given to prison authorities and attesting



         113
            See 28 U.S.C. § 2255, ¶ 6.
         114
            Id. at ¶ 6(1).
         115
           Nichols v. United States, 128 S. Ct. 329 (Oct. 1, 2007); see United States v. Willis, 202 F.3d 1279, 1280-
81 (10th Cir. 2000) (holding “a judgment of conviction is final for purposes of the one-year limitation period in §
2255 when the United States Supreme Court denies a petition for writ of certiorari after a direct appeal, regardless of
whether a petition for rehearing from the denial of certiorari is filed”).
          116
              Price v. Philpot, 420 F.3d 1158, 1163-64 (10th Cir. 2005) (internal citations omitted); see also United
States v. Gray, 182 F.3d 762, 765 n.4 (10th Cir. 1999) (holding that prison mailbox rule applies to § 2255 motions).

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                   that postage was prepaid.117

A prison legal mail system is one in which “prison authorities log in all legal mail at the time it is

received.”118

          Although Nichols represents that he placed the motion “in the prison mailing system on

September 23, 2008,”119 the clerk’s notation when docketing the motion indicates the envelope

from U.S.P. Terre Haute, Indiana was placed in the mail on September 30, 2008. Accordingly,

because he made timely use of the prison’s legal mail system, the Court finds that Nichols has

carried his burden under the prison mailbox rule and his motion should be deemed as timely

filed.

          B.       Ineffective Assistance of Counsel

          Nichols makes numerous claims alleging that his counsel provided ineffective assistance

at various stages of these proceedings. In his original motion, Nichols cites five grounds of

ineffective assistance, and each cited ground contains numerous subsidiary claims. Nichols also

moves to amend his motion to add an additional claim. The Court considers each claim in turn.

          Standards

          The Sixth Amendment guarantees that “[i]n all criminal prosecutions, the accused shall

enjoy the right . . . to have the Assistance of Counsel for his defense.”120 A successful claim of

ineffective assistance of counsel must meet the two-pronged test set forth in Strickland v.



          117
             Price, 420 F.3d at 1166.
          118
             Gray, 182 F.3d at 765
          119
             (Doc. 350 at 21.)
          120
             U.S. Const. amend. VI; Kansas v. Ventris, — U.S.—, 129 S. Ct. 1841 (2009).

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Washington.121 First, a defendant must show that his counsel’s performance was deficient in that

it “fell below an objective standard of reasonableness.”122 To meet this first prong, a defendant

must demonstrate that the omissions of his counsel fell “outside the wide range of professionally

competent assistance.”123 This standard is “highly demanding.”124 Strategic or tactical decisions

on the part of counsel are presumed correct, unless they were “completely unreasonable, not

merely wrong, so that [they] bear no relationship to a possible defense strategy.”125 In all events,

judicial scrutiny of the adequacy of attorney performance must be strongly deferential: “[A]

court must indulge a strong presumption that counsel’s conduct falls within the wide range of

reasonable professional assistance.”126 Moreover, the reasonableness of the challenged conduct

must be evaluated from counsel's perspective at the time of the alleged error; “every effort

should be made to ‘eliminate the distorting effects of hindsight.’”127

       Second, a defendant must also show that his counsel’s deficient performance actually

prejudiced his defense.128 To prevail on this prong, a defendant “must show there is a reasonable

probability that, but for his counsel’s unprofessional errors, the result of the proceeding would




       121
          466 U.S. 668 (1984).
       122
          Id. at 688.
       123
          Id. at 690.
       124
          Kimmelman v. Morrison, 477 U.S. 365, 382 (1986).
       125
          Fox v.Ward, 200 F.3d 1286, 1296 (10th Cir. 2000) (quotation and citations omitted).
       126
          Strickland, 466 U.S. at 689.
       127
          Edens v. Hannigan, 87 F.3d 1109, 1114 (10th Cir. 1996) (quoting Strickland, 466 U.S. at 689).
       128
          Strickland, 466 U.S. at 687.

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have been different.”129 A “reasonable probability” is a “probability sufficient to undermine

confidence in the outcome.”130 This, in turn, requires the court to focus on “the question whether

counsel’s deficient performance render[ed] the result of the trial unreliable or the proceeding

fundamentally unfair.”131 A defendant must demonstrate both Strickland prongs to establish a

claim of ineffective assistance of counsel, and a failure to prove either one is dispositive.132

         1.        Failure to conduct pre-trial discovery

         Nichols alleges that his counsel was ineffective “for failure to conduct any pre-trial

discovery . . . and to require the government to turn over ‘material’ items of evidence in their

possession; or to interview potential witnesses for the defense,” including Sheneice Sanders and

informant Damon Campbell. The Court agrees with the government that these bare allegations

are insufficient to constitute a cognizable claim of ineffective assistance of counsel. “An

analysis of an ineffective assistance of counsel claim begins with the presumption that trial

counsel was competent to provide the guiding hand that the accused needed, and therefore the

burden is on

the accused to demonstrate both a deficient performance and resulting prejudice.”133 The




         129
            Id. at 694.
         130
            Id.
         131
            Lockhart v. Fretwell, 506 U.S. 364, 372 (1993).
         132
            Smith v. Robbins, 528 U.S. 259, 286 n.14 (2000) (quoting Strickland, 466 U.S. at 697) (“The performance
component need not be addressed first. ‘If it is easier to dispose of an ineffectiveness claim on the ground of lack of
sufficient prejudice, which we expect will often be so, that course should be followed.’”); see also Romano v.
Gibson, 239 F.3d 1156, 1181 (10th Cir. 2001) (“This court can affirm the denial of habeas relief on whichever
Strickland prong is the easier to resolve.”).


         133
            Gilson v. Sirmons, 520 F.3d 1196, 1245 (10th Cir. 2008).

                                                         20
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defendant must prove this burden by a preponderance of the evidence.134 Because Nichols does

not explain how these “‘material’ items of evidence” or witness statements were material or

relevant, he cannot claim that his counsel was ineffective in failing to obtain them. Nor does he

explain how, if obtained, these items and statements would have changed the result of his trial.

In the absence of such explanations, Nichols does not sustain his burden to demonstrate either

deficient performance or resulting prejudice, and this claim must fail.

        2.       Prosecutorial misconduct resulting in a Brady violation

        Nichols claims that the government withheld exculpatory and impeaching information

relating to Trooper Weigel’s stop on May 22, 2002. Specifically, Nichols claims that Weigel’s

testimony that he had been investigating an injury accident prior to making the Kansas traffic

stop was false, and this alleged perjury cast doubt on his credibility.

        The Fifth Amendment provides no person shall be deprived of liberty without due

process.135 In Brady v. Maryland,136 the Supreme Court held the government’s suppression of

evidence favorable to the accused violates due process where the evidence is material to guilt or

punishment. In Giglio v. United States,137 the Supreme Court extended Brady to require the

government to disclose impeachment evidence as well as exculpatory evidence. To establish a

Brady violation, a habeas petitioner must demonstrate: (1) the evidence at issue is favorable to

him because it is exculpatory or impeaching; (2) the government suppressed the evidence; and

        134
           Sallahdin v. Mullin, 380 F.3d 1242, 1248 (10th Cir. 2004) (“To surmount the strong presumption of
reasonable professional assistance, a criminal defendant bears the burden of proving, by a preponderance of the
evidence, that his trial counsel acted unreasonably.”).
        135
           U.S. Const. amend. V.
        136
           373 U.S. 83, 87 (1963).
        137
           405 U.S. 150, 154 (1972).

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(3) prejudice ensued from the suppression, i.e., the suppressed evidence was material to guilt or

punishment.138

       Impeachment evidence must be material before its suppression justifies a new trial.139

Evidence is material if there is a reasonable probability its disclosure would have produced a

different outcome.140 A “reasonable probablility” of a different result is shown when the

government’s failure to disclose evidence “undermines confidence in the outcome of the trial.”141

“The question is not whether the defendant would more likely than not have received a different

verdict with respect to the evidence, but whether in its absence he received a fair trial,

understood as a trial resulting in a verdict worthy of confidence.”142 The Court must evaluate the

strength of the impeachment evidence and the effect of its suppression in the context of the entire

record to determine its materiality.”143

       The government’s suppression of impeachment evidence can warrant a new trial “where

the evidence is highly impeaching or when the witness’ testimony is uncorroborated and

essential to the conviction.”144 Suppressed evidence is immaterial under Brady, however, if the

evidence is cumulative or impeaches on a collateral issue.145 Similarly, suppressed impeachment


       138
          Strickler v. Greene, 527 U.S. 263, 281-82 (1999).
       139
          Wood v. Bartholomew, 516 U.S. 1, 5 (1995) (per curriam).
       140
          See United States v. Bagley, 473 U.S. 667, 682 (1985).
       141
          Id. at 678.
       142
          Kyles v. Whitley, 514 U.S. 419, 434 (1995).
       143
          Bagley, 473 U.S. at 683.
       144
          United States v. Martinez-Medina, 279 F.3d 105, 126 (1st Cir.), cert. denied, 536 U.S. 932 (2002).
       145
          United States v. Page, 808 F.2d 723, 730 (10th Cir.), cert. denied, 482 U.S. 918 (1987).

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evidence has little probative value if additional evidence strongly corroborates the witness’s

testimony the suppressed evidence might have impeached.146

       This Court previously considered this claim in the context of Nichols’ Rule 60 and Rule

33 motions and twice rejected it on the merits.147 The Court found that any evidence withheld

was “at best, merely impeaching” and “the evidence would not produce an acquittal.”148 This

Court further found that the government did not violate Brady because “the evidence noted by

defendant is simply insufficient to constitute material evidence, as the Court is convinced that

there is no reasonable probability this evidence would have affected the outcome of his trial.”149

The Court adopts its previous rulings as a basis to deny Nichols’ claim and hereby incorporates

them by reference. While the allegedly suppressed evidence would certainly be impeaching, it

in no way rises to the level of exculpatory evidence, which is defined as evidence that is material

to the issue of guilt or innocence.150 Although Nichols does not articulate how counsel was

ineffective with respect to this claim, the Court’s previous findings foreclose any success on the

second Strickland prong relating to prejudice, and this claim fails.

       3.        Fingerprint evidence

       Nichols contends that “[t]he government violated his Due Process rights by failing to turn

over the ‘Report of Finger Print Examiner’ Mr. Thomas Krull,” failing to turn over pictures of

the print, and failing to call Krull at trial. He also claims the government “lied to the defendant

       146
          See Strickler v. Greene, 527 U.S. 263, 292-94 (1999).
       147
          (Doc. 289.)
       148
          Id. at 3.
       149
          Id. at 4.
       150
          Bagley, 472 U.S. at 676.

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on record stating Mr. Thomas Krull was deceased and could not be called as a witness.” The

Court agrees with the government that this claim is overstated.

       Contrary to Nichols’ assertion, at no time did the government represent that Krull was

deceased. As the government explained at trial in Nichols’ presence, it did not call Krull

because he made his original fingerprint comparison “based off an old fingerprint card that was

completed by an agent who is now deceased.”151 Agent Wurdeman further explained to Nichols

on cross-examination that “when you were arrested in St. Louis three years ago, the jailer that

took your fingerprints has since deceased. [sic]”152 To remedy this situation, the government had

CCA jailer James Hughes obtain another set of fingerprints from Nichols, which was admitted at

trial as Government Exhibit 66.153 At the jury trial, Donna Knight, an expert fingerprint

examiner for the St. Louis County Police Department, testified that she compared the known

fingerprints of Nichols on Government Exhibit 66 to the fingerprint on the grinder and

determined that it was Nichols’ fingerprint.154 She explained that Krull had made a previous

fingerprint comparison off of the old fingerprint card that had been obtained from Nichols by the

now-deceased jailer, so she did another comparison with Government Exhibit 66.155 In testifying

that Nichols’ print from Government Exhibit 66 matched his fingerprint on the coffee grinder,

the government introduced a photograph of the latent print from the coffee grinder as




       151
          (Doc. 236 at 38-39.)
       152
          Id. at 31.
       153
          Id. at 24-26.
       154
          (Doc. 236 at 33-41.)
       155
          Id. at 38-39.

                                                24
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Government Exhibit 67.156 Knight also explained that Krull was unavailable to testify during the

trial; she did not state that he had died.157

        Given this factual backdrop, this Court rejects Nichols’ claim. First, Nichols could have

subpoenaed Krull, but did not, and thus waived any right to confront him. Second, even if he

had cross-examined Krull, such examination would have been fruitless because Krull could not

have testified to the results of his examination given the lack of evidentiary foundation for the

so-called known print of Nichols, which was taken by the now-deceased jailer. Third, because

no foundation existed for Krull’s testimony, or his report, his report was irrelevant and

immaterial, and the government’s alleged failure to turn it over was inconsequential. Finally,

even assuming that the government failed to turn over Government Exhibit 67 to Nichols before

trial, Nichols does not allege, nor did such failure affect the result of the trial, and he fails to

sustain his burden to show prejudice. Accordingly, the Court finds that this claim lacks merit.

        4.        Failure to subpoena Damon Campbell

        Nichols argues that his counsel performed ineffectively because he failed “to Subpoena

the alleged informant (Damon Campbell) to testify, or at least submit to an interview before the

Suppression Hearing or at Trial.” He claims that if his counsel had interviewed Campbell, he

“would have learned the traffic stop conducted on September 14, 2000 was a controlled ‘traffic

stop’ orchestrated by Damon Campbell, and not a routine stop for traffic violation as alleged

during the Suppression Hearing and during Trial by the government.” Nichols also alleges that

his counsel was otherwise ineffective “for failing to call any civilian witnesses to rebut the facts



        156
           Id. at 39-40.
        157
           Id. at 38.

                                                   25
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of the case as presented by the government,” and lists Campbell as one such witness.

         This claim is without merit. The Court agrees with the government that, even if the

September 14, 2000 traffic stop was “orchestrated” by Campbell, this is constitutionally

irrelevant. With or without Campbell’s information, this stop was justified based on the fact that

while following the vehicle, officers observed it traveling in excess of the posted speed limit and

change lanes without signaling, both in violation of Missouri law.158 An officer may initiate a

traffic stop once he has “reasonable suspicion that criminal activity is, has, or is about to

occur.”159 Here, the traffic violations provided reasonable suspicion for the stop, irrespective of

any information provided by Campbell.160 The fact that the agents had other motivations for

stopping the vehicle that may have been grounded on information supplied by Campbell is

irrelevant to the legality of the stop, which the Tenth Circuit Court of Appeals upheld.161

Therefore, counsel did not perform ineffectively in failing to call or subpoena Campbell.

Moreover, Campbell’s testimony would have been irrelevant to the legality of the stop, and thus

it could not have affected this Court’s ultimate decision upholding the same. Accordingly,

Nichols cannot sustain his burden to show either deficient performance or prejudice on this

claim.

         5.        Failure to subpoena Sheneice Sanders


         158
            (Doc. 175 at 65-55.)
         159
            United States v. Copening, 506 F.3d 1241, 1246 (10th Cir. 2007).
         160
           United States v. Gregoire, 425 F.3d 872, 876 (10th Cir.2005) (“An observed traffic violation or a
reasonable suspicion of such a violation under state law plainly justifies a stop.”).
         161
            See id. at 878 (“[T]he subjective motivation of the trooper is not pertinent given the observed [traffic]
violation.”); Nichols I, 374 F.3d at 964 (“In regard to the St. Louis stop, the district court found that prior to the stop,
police had ‘observed two traffic violations–speeding and a lane change without using a turning signal.’ This finding
is not clearly erroneous. The stop was thus justified at its outset.”) (internal citation omitted).

                                                            26
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       Nichols likewise claims that “Sheneice Sanders should have been Subpoenaed to testify

at the Suppression Hearing, or interviewed before Trial by Counsel James Chappas to ascertain

the reliability of evidence to be used from the Search of the residence by the government in it[]s

Case in Chief against Cordell Nichols.” This claim is without merit.

       Even if Nichols’ counsel ineffectively failed to subpoena Sanders, Nichols does not

demonstrate that he was prejudiced by such failure. He does not proffer what Sanders would

have testified to, nor does he represent that she would have testified that she did not voluntarily

consent to the search of her residence. Because Nichols presents no basis for this Court to

conclude that Sanders would have testified that she did not consent, he fails to sustain his burden

to prove that this Court would have had any basis to find that she did not consent. Further, even

if she had so testified, Nichols cannot show by a preponderance of the evidence that this Court

would have believed her testimony over the testimony of the officer who testified that she did

consent. Against her testimony, this Court would have weighed the testimony of the officer who

obtained the consent, and no basis exists for this Court to conclude that this Court would have

found Sanders more believable than the officer.162 Thus, Nichols fails to carry his burden to

show prejudice by a preponderance of the evidence, and this claim fails.

       6.       Failure to challenge Sanders’ consent

       Similarly, Nichols argues that his counsel was ineffective for failing to challenge

Sanders’ consent to search her residence. He avers that “[t]he warrantless Search and Seizure of

evidence from the residence of Cordell Nichols and Sheneice was conducted without consent,

and violated the 4th Amendment.” Nichols claims that the agents “did forcefully coerce Ms.


       162
          (Doc. 173 at 74, 83.)

                                                 27
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Sheneice Sanders to open the door and put a gun to her in a threatening manner to coerce her to

allow them to search,” and lied to her by “[s]tating they were investigating a ‘murder’ and

implying the death of Cordell Nichols.” As evidence for these claims, Nichols attaches an

affidavit from Damon Campbell, dated October 20, 2004, attesting that these events occurred.163

        The Court agrees with the government that this claim fails for lack of an evidentiary

basis. Nichols does not submit an affidavit from Sanders, who is the only person in a position to

state whether her consent was voluntary. Instead, Nichols submits an affidavit from Campbell,

who admittedly was not present when Sanders consented.164 Campbell does not represent that he

witnessed her sign the consent form under any form of duress, but merely speculates on this

point.165 In any event, little basis exists to credit Campbell’s representation that he was even at

the residence; at the suppression hearing Detective Verhaeghe credibly testified that Campbell

was not present.166

        Even construed in the light most favorable to Nichols, these allegations do not establish

that his counsel was deficient. Nichols does not establish even a probability that had counsel

challenged her consent, he would have been successful, because he does not aver that Sanders

herself would have testified that her consent was involuntary. Further, Nichols cannot establish

such probability by relying on Campbell’s affidavit because it is based on his opinion and


        163
           (Doc. 350-3, Ex. C.)
        164
           See id. at 9 (stating he took agents to Sanders’ apartment; agents rushed in and handcuffed Sanders and
her children began to cry; and he then “faded away on the steps and was followed by an agent to my vehicle.”)
        165
             See id. (“If Ms. Sanders signed a consent form it was more likely because she was in handcuffs and was
in fear for her and her kids, but to know exactly the court would have to ask Shaniece Sanders how she came to sign
a consent or give consent to search her residence.”); id. (“any consent in my opinion was coerced and out of
fear.”)
        166
           See Doc. 175 at 88.

                                                        28
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conjecture about what might have happened. Accordingly, Nichols offers no plausible scenario

for this Court to find that his counsel was deficient for failing to challenge the consent, or that he

was prejudiced by such failure.

         7.        Denial of right to cross-examine Krull and Sanders

         Nichols claims counsel failed to investigate and preserve the right to confront essential

witnesses, and thus he was denied his constitutional right to confront Sanders and Krull. He

avers, “[d]uring the jury trial the defendant was denied the right to challenge the testimonial

evidence introduced against him offered by the government Agents in place of the actual

witnesses, Sheneice Sanders and Thomas Krull.”

         Nichols points to no instance in the record where the government offered such evidence.

In fact, the government did not offer any testimonial evidence during the trial attributable to

Krull by way of hearsay.167 As noted above, Knight testified that she compared the known

fingerprints of Nichols on Government Exhibit 66 to the fingerprint on the grinder and

determined that it was his fingerprint.168 She explained that Krull had made a previous

fingerprint comparison off of the old fingerprint card that had been obtained from Nichols by the

now-deceased jailer, so she did another comparison with Government Exhibit 66.169 Her

reference to the fact that Krull made a previous fingerprint comparison was not hearsay because

she did not refer to a statement made by Krull offered to prove the truth of the matter asserted.

Had she referred to the result of his prior examination, that would have been inadmissible


         167
            See Fed. R. Evid. 801(c) (“ ‘Hearsay’ is a statement, other than one made by the declarant while
testifying at the trial or hearing, offered in evidence to prove the truth of the matter asserted.”).
         168
            (Doc. 236 at 33-41.)
         169
            Id. at 38-39.

                                                         29
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hearsay, but she made no such reference. Thus, Nichols was not denied any right “to challenge

testimonial evidence” offered by the government with respect to Krull.

        With respect to Sanders, the Court agrees with the government that Nichols invited the

hearsay about which he now complains. At trial, DEA Agent David Turner testified on direct

examination as to what Sanders did, not what she said, when he went to her

residence, which she shared with Nichols, and asked for consent to search.170 During his cross-

examination of Turner, Nichols asked him if he coerced Sanders into consenting to the search.171

To rebut any inference of coercion, the government questioned Turner about the voluntariness of

this consent on re-direct and elicited hearsay, to which Nichols objected:

                 Q. All right. You didn’t coerce consent out of Ms. Sanders, did
                 you?

                 A. No, sir. She was a very nice lady. Very cooperative.

                 Q. Okay. You had her sign a waiver form, correct?

                 A. Yes, sir.

                 Q. And in that waiver form it says: I’ve been advised of my rights; I
                 realize I have rights–

                 MR. NICHOLS: I object to that, Your Honor, because Ms.
                 Sanders is not here to testify to the signature of this letter
                 whatsoever. So that’s the same thing as I’m trying to present the
                 affidavit to the Court and I could not–

                 THE COURT: All right, just a minute. You asked whether this
                 was coerced, and so this is a question in response to that so I’ll




        170
           See Doc. 235 at 276 (“We knocked at the door. Ms. Sanders greeted us. We explained to her our
presence. She then signed a consent to search form and allowed us into the house to search.”)
        171
           Id. at 326 (“Q. I’m saying was there any coercion in this consent? A. Oh. No, Sir.”.)

                                                         30
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                   overrule the objection.172

Clearly, Nichols invited this testimonial hearsay as to what the consent form said by asking

Turner whether he coerced Sanders to consent in the first instance. Nichols cannot now credibly

complain about this error because he invited it.173

         Even if this constituted a denial of Nichols’ right to confront Sanders, however, he cannot

show that he was prejudiced by any such denial. In fact, he could not have been prejudiced

because the voluntariness of Sanders’ consent was an irrelevant issue in Nichols’ trial. The

voluntariness of Sanders’ consent could only have been relevant to Nichols’ motion to suppress

the evidence recovered from Sanders’ residence, and, as previously discussed, this Court denied

such motion before the trial. In contrast, at trial the voluntariness of Sanders’ consent was

irrelevant because this Court had already determined that the evidence found in the search of her

apartment was admissible. Accordingly, this claim also fails.

         8.        Speedy Trial violation

         Nichols argues that counsel was ineffective because he failed to challenge the Indictment

on Speedy Trial grounds and thus, he was denied “the right to a fast and Speedy Trial.”

Specifically, he claims that the government violated 18 U.S.C. § 3161(b), which requires that

indictments be filed within thirty days of a defendant’s arrest, and 18 U.S.C. § 3161(c)(1), which

requires that a defendant be brought to trial within seventy days of being indicted. As to the

former claim, the Court notes that the Sealed Indictment in this federal case was filed July 31,


         172
            Id. at 331-32.
         173
           See United States v. Griffin, 294 F. App’x. 393, 396 n.2 (10th Cir. 2008) (“There is authority holding that
‘the admission of out of court statements by a government witness, when responding to an inquiry by defense
counsel, creates ‘invited error.’ ”) (quoting United States v. Parikh, 858 F.2d 688, 695 (11th Cir. 1988)).


                                                         31
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2002, and defendant was arrested on those charges on August 2, 2002. As to the latter claim,

Nichols notes “[t]he statute requires a defendant to be tried within (70) days of being indicted.”

Nichols does not specifically articulate how his speedy trial rights were violated, nor does he

address the fact that he had three counsel appointed to represent him before proceeding to trial in

July 2003, all of whom filed numerous pretrial motions on his behalf that impacted excludable

time under the Speedy Trial Act.174

          Moreover, because Nichols alleges statutory violations of his right to a speedy trial, as

opposed to a constitutional violation, his claim is not cognizable in the instant § 2255 context.

The Tenth Circuit decision in United States v. Taylor175 squarely forecloses his claim. There, the

court dismissed the defendant’s claims alleging a violation of his statutory right to a speedy trial

in the § 2255 context, noting that the violation of a statutory right, as opposed to a constitutional

right, will not support issuance of a certificate of appealability.176 The court summarily denied

the defendant’s claim that his rights under the Speedy Trial Act were violated.177 For the same

reason, this Court dismisses Nichols’ speedy trial claims, which are both based on a claimed

violation of a statutory right.178

         9.        Failure to challenge validity of Indictment

         174
            See 18 U.S.C. § 3161(h).
         175
            454 F.3d 1075 (10th Cir. 2006).
         176
           Id. at 1078-79 (“Under the Antiterrorism and Effective Death Penalty Act (AEDPA), a COA may issue
only when the applicant ‘has made a substantial showing of the denial of a constitutional right’. . . . Thus, a COA
cannot issue when the habeas petitioner has shown the denial of only a statutory right.”) (quoting 28 U.S.C. §
2253(c)(2) (emphasis in original)).
         177
            See id. at 1079.
         178
            Alternatively, the Court finds that Nichols has not made any showing of prejudice as required under
Strickland, because he makes no attempt to show that if his counsel had raised this claim he would have been
successful and would have obtained a dismissal of the case with prejudice.

                                                         32
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         Nichols argues that his counsel was ineffective because he “failed to challenge a[n]

indictment charging a non[] exist[e]nt crime of conspiracy because evidence presented to the

grand jury was hearsay and competent.” Nichols “submit[]s NO competent evidence was

presented to the [Grand Jury] who issued the Superseding Indictment because Superseding

Indictment issued from a different Grand Jury and from a different division than the original

indictment.”

         The Court denies this claim. Nichols unreasonably infers that the evidence adduced

before the second Grand Jury was not competent, both because it was issued “from a different

Grand Jury and from a different division than the original indictment,” and because different

witnesses testified at the Grand Jury than at the suppression hearing. In fact, these

circumstances are ordinary, not unusual, and do not justify any inference that the evidence

presented was incompetent. Once empaneled, the Grand Jury serves until discharged by the

court, generally for a term no longer than eighteen months.179 The Grand Jury may return a

superseding indictment any time before trial, and the prosecutor may submit evidence to

succeeding Grand Juries.180 Because these circumstances are facially ordinary and raise no

specter of any sort of statutory or constitutional violation, Nichols’ counsel was not ineffective

for failing to challenge them. Finally, Nichols fails to show that he was prejudiced by these

circumstances, or that they otherwise affected the result of his trial, which was based on

competent evidence.

         10.      Failure to challenge sentencing enhancements under Booker


         179
            See Fed. R. Crim. P 6(g) (eighteen-month term of grand jury begins at impanelment).
        180
            See Fed. R. Crim. P. 6(e)(3)(C)(iii) (court order not necessary to transfer one grand jury’s material to
successor grand jury).

                                                           33
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        Nichols argues that “counsel was ineffective for failing to properly challenge the

sentence enhancements as a violation of United States v. [B]ooker.” He alleges that this Court

impermissibly “engaged in judicial fact finding to determine that Mr. Nichols possessed a

firearm in relation to a drug trafficking crime, and [o]bstructed justice.” The Tenth Circuit has

explained, however, that judicial fact-finding by a preponderance of the evidence remains

constitutional post-Booker as long as the guidelines are advisory.181 This Court noted at Nichols’

March 27, 2006 sentencing hearing that the Sentencing Guidelines were advisory and applied

them in an advisory manner.182 Accordingly, this Court did not violate Booker by engaging in

judicial fact-finding with respect to the sentencing enhancements, and Nichols cannot satisfy

either prong under Strickland.

        11.      Failure to object to information in PSIR relating to firearm.

        Nichols argues that “[c]ounsel was ineffective for not objecting to the information in the

PSIR that related to the firearm enhancement, during the first sentencing hearing, and the

sentencing hearing held after remand from the Supreme Court.” Specifically, Nichols argues

that his counsel was ineffective for failing to object to paragraphs 24, 25, and 26 of the PSIR,

which collectively state that the officers went to Sanders’ residence, obtained her consent to

search the residence, and found a loaded gun in a dresser drawer with heroin, found money, and

that Sanders gave a written statement stating that these items belonged to Nichols, whom she




        181
          See United States v. Dalton, 409 F.3d 1247, 1252 (10th Cir. 2005); United States v. Magallanez, 408 F.3d
672, 684-85 (10th Cir. 2005).
         182
             See Doc. 300 at 14 (“A sentence of 360 months represents the middle of the advisory sentencing
guideline range.”).

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stated was involved in drug trafficking.183 Although Nichols is correct that his counsel did not

object to these particular paragraphs, counsel did in fact object to application of the proposed

firearm enhancement at the September 8, 2003 sentencing hearing. Likewise, at the March 27,

2006 sentencing hearing, his counsel again objected, claiming “there was insufficient evidence to

allow the Court to find by a preponderance of the evidence that he did in fact possess this

weapon in connection with a drug offense,” and suggesting that the government was “required to

present some sort of evidence to allow the Court to find facts supporting that enhancement.”184

       In denying Nichols’ objections at both hearings, this Court did not rely on the fact that

his counsel did not specifically object to paragraphs 24, 25, and 26. At the September 8, 2003

hearing, this Court denied the objection, holding:

                All right. Then the defendant has filed objections. First an
                enhancement, two-level enhancement, for possession of a firearm.
                And that’s the firearm that was found in the St. Louis apartment
                that the defendant resided in and that was the site of his heroin
                distribution operation. The firearms, there are actually two of
                them. One of them was found in the same dresser drawer as the
                heroin. And the other person that lived there, who was identified as
                the defendant’s girlfriend, stated that this heroin and the gun
                belonged to the defendant. So there has been an establishment of
                temporal and spatial relationship between the firearms and the
                heroin for distribution.185

Likewise, at the March 27, 2006 hearing, this Court noted the objections and denied them, citing

the same reasons it had stated at the prior sentencing hearing.186 Neither of these denials was



       183
          (PSIR ¶¶ 24, 25, 26.)
       184
          (Doc. 300 at 11.)
       185
          (Doc. 264 at 39.)
       186
          (Doc. 300 at 12.)

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based on counsel’s failure to object to paragraphs 24, 25, and 26 of the PSIR.187 Accordingly,

even if his counsel performed deficiently in not objecting to these specific paragraphs, Nichols

cannot sustain his burden to show that he was prejudiced by such deficient performance. Thus,

Nichols cannot show that even if his counsel had objected to these paragraph, as opposed to

simply posing a general objection as he did, this Court would have sustained his objection or

otherwise treated it any differently.

        12.       Objection to the factual basis for firearms enhancement

        Nichols also argues that this Court erroneously applied the firearms enhancement,

suggesting that the firearms did not belong to him based on Campbell’s affidavit:

                 Petitioner further finds the enhancement to [sic] unreasonable for
                 the evidence relied on by the Court is not contradicted by the
                 statement of Damon Campbell the government’s informant, who
                 acknowledges that he hid items of drug evidence within the
                 residence of Cordell Nichols. Although these items are not
                 specifically identified in the Affidavit the Newly Discovered
                 Evidence does challenge the factual basis of the Court’s findings
                 on the gun enhancement and the basis of the ruling during the
                 suppression hearing.188

        Although Nichols does not articulate how counsel was ineffective with respect to this

issue, the Court rejects this claim. Damon Campbell does not acknowledge in the affidavit that

he “hid items of drug evidence within the residence of Cordell Nichols” as Nichols claims.

Rather, Campbell’s affidavit is ambiguous on this point, stating, “I placed several items

throughout the apartment which I do plead the fifth to. I placed items in various places



        187
           See Doc. 235 at 305-06 (testimony of Agent Turner that one firearm was found in same dresser drawer as
drugs; another was found in different drawer of same dresser).


        188
           (Doc. 350 at 19.)

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throughout the residence . . . .”;189 and, “I was at Cordell Nichols Baby Mother’s residence and I

left several items there, with no one’s knowledge, and I pled the 5th on this matter.”190 Because

Campbell does not admit to placing either the drugs or guns in Nichols’ residence, this Court

does not rely on Campbell’s affidavits that he did so.

       Further, this Court previously found that Campbell is not a credible affiant. At the March

27, 2006 sentencing hearing, this Court considered Campbell’s August 31, 2004 affidavit, which

Nichols has attached to the instant motion as Exhibit D, and found that it was “ridiculous and

unbelievable”:

                 The Court is also in receipt of an affidavit filed with this court
                 on June 23, 2005. It’s given document number 270-1. The affidavit
                 was submitted by the defendant and signed by Damon Campbell,
                 allegedly, the confidential informant involving the car stop on
                 September 14, 2000. The affidavit appears to be written by the
                 defendant and signed by Mr. Campbell when they were both at the
                 Federal Medical Center in Forth Worth, Texas, on August 31,
                 2004. The Court observes and concludes that the story provided by
                 Mr. Campbell in the affidavit is ridiculous and unbelievable, and
                 appears to be another attempt by the defendant to manipulate the
                 Court into granting him a new trial . . . 191

This credibility finding applies equally to Campbell’s October 20, 2004 affidavit, which is

attached to Nichols’ petition as Exhibit C. Accordingly this claim is denied.




       189
          (Doc. 350, Ex. C at 12.)
       190
          Id. Ex. D.
       191
          (Doc. 300 at 23.)

                                                37
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         13.        Failure to Challenge Section 851 Enhancement

         On September 13 and 23, 2010, Nichols moved to amend his motion to add a claim that

counsel Chappas was ineffective for failure to challenge the government’s § 851 Notice filed

June 1, 2003,192 and that counsel Stephen Kessler was ineffective for failing to challenge this

issue at sentencing and on direct appeal.193 Nichols argues that this led to the Court erroneously

enhancing his sentence based on a prior conviction. These motions were filed long after the one-

year period of limitations under § 2255 expired.. As the Supreme Court has explained, under

Fed. R. Civ. P. 15, a habeas petitioner may amend his petition to add claims after the statute of

limitations has expired, but those additional claims will not “relate back” if they did not arise out

of the “conduct, transaction, or occurrence” set forth in his original timely filed petition.194

Because the amended claim is factually and legally related to the claims regarding objections to

sentencing raised in the original petition, the Court finds the amendment relates back to the

original filing date under Rule 15(c) and is timely.195

         Nevertheless, the Court denies the additional claim. 21 U.S.C. § 851(a)(1) provides, in

relevant part:

                    No person who stands convicted of an offense under this part shall
                    be sentenced to increased punishment by reason of one or more
                    prior convictions, unless before trial, or before entry of a plea of
                    guilty, the United States Attorney files an information with the


         192
              (Doc. 182.)
         193
              (Docs. 385, 386.)
         194
              Mayle v. Felix, 545 U.S. 644, 654-64 (2005); United States v. Espinoza-Saenz, 235 F.3d 501, 505 (10th
Cir. 2000).
         195
           Id. (stating that “an untimely amendment to a § 2255 motion which, by way of additional facts, clarifies
or amplifies a claim or theory” may be permissible, but “only if the proposed amendment does not seek to add a new
claim or insert a new theory into the case.”

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                court (and serves a copy of such information upon the person or
                counsel for the person) stating in writing the previous convictions
                to be relied upon.

A district court cannot impose an enhanced sentence unless the government complies with

§ 851’s requirements.196 As the Tenth Circuit has explained, “[g]enerally once § 851 notice is

given, that is sufficient to satisfy the statute. The purpose of a § 851 information is to “notify the

defendant of the government’s intention to use a prior offense to enhance his sentence,”197 and to

“give the defendant an opportunity to establish either that he had not been convicted of the

crimes the government relies upon for the sentence enhancement or that the convictions do not

qualify as the type satisfying the enhancement requirements.”198 Additionally, § 851 notice

enables the defendant to make an informed choice about whether to plead guilty or go to trial.199

Here, there is no question the government filed the Information prior to start of trial, albeit the

day before.

       Nichols now argues that his counsel was ineffective for failing to object on the grounds

that simple possession alone is not enough to trigger the enhanced sentence under § 851. In

support of his argument, Nichols cites the case of United States v. Kissick,200 where the Tenth

Circuit granted the petitioner’s § 2255 motion because his counsel failed to object to the

application of an inapplicable enhancement, resulting in an increased sentence and the requisite

prejudice under Strickland. The petitioner in that case was convicted on a § 841(a) drug

       196
          See United States v. LaBonte, 520 U.S. 751, 754 n.1, 759-60 (1997).
       197
          United States v. Vaughn, 370 F.3d 1049, 1055 (10th Cir. 2004).
       198
          United States v. Willis, 102 F.3d 1078, 1085 (1996).
       199
          United States v. Balderama-Iribe, 490 F.3d 1199, 1205 (10th Cir. 2007) (citation omitted).
       200
          69 F.3d 1048 (10th Cir. 1995).

                                                       39
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possession with intent to distribute charge and was classified as a career criminal under § 4B1.1

of the United States Sentencing Guidelines.201 In granting the petitioner’s motion, the court

explained that a prior conviction for mere possession of a controlled substance, without the

intent to distribute, does not meet the definition of a “controlled substances offense” as the term

is used in § 4B1.2.202 By contrast, although the penalty for Nichols’ drug possession count was

enhanced to a twenty-year mandatory minimum because of his prior felony drug conviction, he

was not classified as a career offender. The language of § 841(b)(1)(A) only requires “two or

more prior convictions for a felony drug offense,” meaning a drug offense subject to a term of

over one year imprisonment.203 There is no question Nichols’ prior conviction was for

possession of cocaine, for which he received a two-year sentence.204 Accordingly, the § 851

enhancement to the mandatory minimum of twenty years was appropriate, and Nichols cannot

satisfy either prong under Strickland.

        In summary, the record conclusively demonstrates that Nichols’ § 2255 motion must be

dismissed without further discovery or an evidentiary hearing.

V.      Certificate of Appealability

        Effective December 1, 2009, Rule 11 of the Rules Governing Section 2255 Proceedings

requires the Court to grant or deny a certificate of appealability (“COA”) when making a ruling

adverse to the petitioner. “A certificate of appealability may issue . . . only if the applicant has


        201
           Id. at 1050.
        202
           Id. at 1053-54; see also United States v. Horey, 333 F.3d 1185, 1188 (10th Cir. 2003) (same).
        203
         21 U.S.C. § 802(44); see United States v. Harris, 223 F. App’x 747, 756 (10th Cir. 2007); United States
v. McGehee, 177 F. App’x 815, 824-826 (10th Cir. 2006).
        204
           (Doc. 386, Ex. A.)

                                                        40
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made a substantial showing of the denial of a constitutional right.”205 A petitioner may satisfy

his burden only if “reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong.”206 A petitioner is not required to demonstrate that his

appeal will succeed to be entitled to a COA. He must, however, “prove something more than the

absence of frivolity or the existence of mere good faith.”207 “This threshold inquiry does not

require full consideration of the factual or legal bases adduced in support of the claims. In fact,

the statute forbids it.”208 For the reasons detailed in this Memorandum and Order, Nichols has

not made a substantial showing of the denial of a constitutional right, and the Court denies a

COA as to its ruling on his § 2255 motion.

           IT IS THEREFORE ORDERED that Nichols’ Motions to Expand the Record and to

Amend/Correct his § 2255 motion (Docs. 357, 385, 386) are GRANTED;

           IT IS FURTHER ORDERED that Nichols’ motion to vacate pursuant to 28 U.S.C. §

2255 (Doc. 350), as supplemented and amended, is DENIED; Nichols is also denied a COA;

           IT IS FURTHER ORDERED that Nichols’ Motions for Discovery (Docs. 357, 358,

367), Motion for Summary Judgment (Doc. 371) and Motion for Evidentiary Hearing (Doc. 372)

are DENIED.

           IT IS SO ORDERED.

Dated: October 28, 2010

           205
            28 U.S.C. § 2253(c)(2). The denial of a § 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1); 28 U.S.C. § 2253(c)(1).
           206
              Saiz v. Ortiz, 393 F.3d 1166, 1171 n.3 (10th Cir. 2004) (quoting Tennard v. Dretke, 524 U.S. 274, 282
(2004)).
           207
              Miller-El v. Cockrell, 537 U.S. 322, 338 (2003).
           208
              Id. at 336; see also United States v. Silva, 430 F.3d 1096, 1100 (10th Cir. 2005).

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                                      S/ Julie A. Robinson
                                     JULIE A. ROBINSON
                                     UNITED STATES DISTRICT JUDGE




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